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                                                        7
                                                            Attorney for Plaintiffs Reynaldo Gomez Acosta, Servando Avila Luciano,
                                                       8    and Felix Nunez Duarte, and on behalf of all unnamed Plaintiffs similarly
                                                        9   situated
                                                       10
                                                       11
                                                                            UNITED STATES DISTRICT COURT
                                                                          CENTRAL DISTRICT OF CALIFORNIA
                                                       12
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G O M E Z L A W G R OU P




                                                       13
                                                             VICTOR CORTES ARRELLANO,                 Case No.: 2:18-cv-08220-RGK-E
                                                       14    AND ON BEHALF OF ALL
                                                       15    UNAMED PLAINTIFFS                        Related Case No.
                                                             SIMILARLY SITUATED,                      2:18-cv-03736-RGK-E
                                                       16
                                                                         Plaintiffs,                  PLAINTIFFS’ MEMORANDUM
                                                       17
                                                                                                      OF POINTS AND
                                                       18    v.                                       AUTHORITIES IN SUPPORT
                                                                                                      OF MOTION FOR
                                                       19
                                                             XPO LOGISTICS PORT                       PRELIMINARY APPROVAL
                                                       20    SERVICES, LLC; and DOES 1                OF CLASS ACTION
                                                             through 50, inclusive,                   SETTLEMENT
                                                       21
                                                       22                                             Date: September 27, 2021
                                                                         Defendants.
                                                                                                      Time: 9:00 a.m.
                                                       23                                             Courtroom: 850
                                                       24                                             Hon. R. Gary Klausner
                                                       25
                                                       26
                                                       27
                                                       28
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                                                        1              MEMORANDUM OF POINTS AND AUTHORITIES
                                                        2   I.       INTRODUCTION
                                                        3            Plaintiffs Reynaldo Acosta, Felix Nunez Duarte, and Servando
                                                        4   Avila Luciano, on behalf of themselves and other Class Members, and
                                                        5   Plaintiffs Edgardo Villatoro, Manuel De Jesus Martinez, and Gerard
                                                        6   Daniels in consolidated case 2:19-CV-09199 (hereinafter “Plaintiffs”)
                                                        7   respectfully seek the Court’s approval of the instant Motion for
                                                       8    Preliminary Approval of the Class Action Settlement with Defendants XPO
                                                        9   Logistics Port Services, LLC (formerly XPO Port Services Inc.) and XPO
                                                       10   Logistics Inc. (“XPO”) 1, excluding Osman R. Garcia, Luis Humberto
                                                       11   Montalvo, Mariano A. Saravia, Armando Henriquez, Luis Meza, and
                                                       12   Vicente Renderos, who opted out of the settlement. The Parties request
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                                                       13   entry of an order: (1) preliminarily approving the proposed Class Action
                                                       14   Settlement Agreement, (2) approving the form and method for providing
                                                       15   class-wide notice, (3) directing that notice of the proposed settlement be
                                                       16   given to the class, and (4) scheduling a final approval hearing to consider
                                                       17   the request for final approval of the proposed settlement and for entry of
                                                       18   judgment as well as Plaintiffs’ request for attorneys’ fees and expenses.
                                                       19            A.    The Parties
                                                       20            XPO is a trucking company that hires truck drivers to transport
                                                       21   goods to and from the shipping ports for XPO’s customers. Plaintiffs and
                                                       22   Class Members are current or former Port of Los Angeles and Port of
                                                       23   Long Beach truck drivers who were paid as independent contractors and
                                                       24
                                                       25
                                                       26
                                                            1    The Settlement Agreement is attached as Exhibit 1 to the Declaration of
                                                       27
                                                            Alvin M. Gomez, Esq. (“Gomez Decl.”) Unless otherwise indicated, all
                                                       28
                                                            exhibits referenced herein are attached to the Gomez Decl.
                                                                                                    1
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                                                1   transported cargo from XPO’s Port Services location 2 from March 28,
                                                2   2013, through the earlier of December 31, 2021, or final approval of the
                                                3   Settlement Agreement (hereinafter, “S.A.”). (Gomez Decl. at ¶ 3.)
                                                4           B.   The Lawsuit
                                                5           This action was filed on March 22, 2017, in Los Angeles Superior
                                                6   Court. XPO removed the case to this Court on September 21, 2018. (Dkt.
                                                7   1.) The operative pleading is Plaintiffs’ Fifth Amended Complaint. (Dkt.
                                               8    129.) On September 16, 2020, the Court granted class certification as to
                                                9   1. Misclassification of employees; 2. Unlawful deductions and
                                               10   reimbursements regarding fuel and insurance; 3. Unpaid minimum
                                               11   wages; 4. Waiting time penalties; 5. Failure to pay all wages owed every
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                                               12   pay period; 6. Meal and rest periods; 7. Itemized wage statements; 8.
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                                                    Unfair Competition; and 9. Private Attorney General Act. (Dkt. 101.) The
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                                               13
                                               14   Court denied class certification as to reimbursements regarding
                                               15   maintenance expenses. (Id.) Plaintiffs dismissed the minimum wage
                                               16   claim and certain of their penalties under PAGA. (Dkt. 152; Gomez Decl.
                                               17   ¶ 4.)
                                               18           XPO filed an Answer to the Fifth Amended Complaint denying that
                                               19   Plaintiffs’ causes of action have merit, denying any liability or
                                               20   wrongdoing, and denying that Plaintiffs are entitled to relief under any
                                               21   of the statutes cited in those causes of action. (Dkt. 130.) XPO maintains
                                               22   that it has complied with applicable law in all aspects. (Gomez Decl. ¶ 5.)
                                               23           The case was set to go to trial on September 7, 2021. (Dkt. 121.)
                                               24   Plaintiffs filed 12 motions in limine and 2 Daubert motions, and XPO
                                               25   filed 10 motions in limine. (Dkts. 208-237.) The Parties exchanged and
                                               26
                                               27
                                                    2   Plaintiffs Luciano and Acosta primarily worked for XPO Logistics
                                               28
                                                    Cartage Inc. but did provide services for XPO Logistics Port Services LLC.
                                                                                            2
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                                                1   filed Joint Exhibit and Witness Lists, and each Party separately filed
                                                2   their Memoranda of Contentions of Fact and Law. (Dkts. 244-247.) The
                                                3   Parties were preparing and had exchanged the Pretrial Conference
                                                4   Order, as well as the remaining trial documents, when the case settled at
                                                5   mediation on August 9, 2021. (Dkt. 251; Gomez Decl. ¶ 6.)
                                                6         After both sides conducted sufficient discovery and investigation,
                                                7   participated in two separate private mediations before the Hon. Jay
                                               8    Gandhi (Ret.), a well-known and highly regarded wage and hour
                                                9   mediator. As a result, the Parties have agreed to fully, finally, and forever
                                               10   compromise and settle all claims asserted in the Action pursuant to the
                                               11   Settlement Agreement.       To achieve a complete release, each party
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                                               12   resolves and settles all claims raised in the Action, or that could have
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                                                    been raised based on the facts alleged in the Action, including all causes
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                                               13
                                               14   of action and claims alleged in the case, whether asserted under
                                               15   California Labor Code, the California’s Unfair Competition Law (“UCL”),
                                               16   the PAGA, the California Industrial Welfare Commission Wage Orders,
                                               17   or other state law, plus all civil and statutory penalties arising from the
                                               18   foregoing, including, but not limited to those under the California Labor
                                               19   Code, or other state laws as set forth in the operative complaint. (Gomez
                                               20   Decl. ¶ 7.)
                                               21         The attorneys for the Plaintiff Class, Alvin M. Gomez, Stephen
                                               22   Noel Ilg, and Frank J. Zeccola of the Gomez Law Group, P.C. (“Class
                                               23   Counsel”), have conducted a thorough investigation into the facts of the
                                               24   operative Complaint and have diligently pursued the investigation and
                                               25   litigation of Plaintiffs’ and Class Members’ (as defined below) claims
                                               26   against XPO. The Parties exchanged discovery, including expert reports,
                                               27   conducted more than a dozen depositions, and disclosed, both through
                                               28   discovery and through informal mediation-related disclosures, company
                                                                                            3
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                                                1   and operational policies, documents, and data related to XPO’s
                                                2   payments to Plaintiffs and Class Members for services rendered under
                                                3   the Independent Contractor Operating Agreements (“ICOC”), and its
                                                4   engagement of Plaintiffs and members of the Class as owner-operators.
                                                5   (Gomez Decl. ¶ 8.)
                                                6         The Parties recognize that the issues in the Action are likely only to
                                                7   be resolved through further extensive and costly proceedings; recognize
                                               8    that further litigation will cause inconvenience, distraction, disruption,
                                                9   delay, and expense disproportionate to the potential benefits of
                                               10   litigation; and recognize the risk and uncertainty of the outcome
                                               11   inherent in any litigation. Based on their own independent investigation
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                                               12   and evaluation, Class Counsel and class representatives agree with
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                                                    XPO’s Counsel that the Settlement is fair, reasonable, and adequate, and
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                                               13
                                               14   is in the best interests of the Class, in light of all known facts and
                                               15   circumstances, including the risk of significant delay, and the defenses
                                               16   asserted by XPO.      While XPO specifically denies all liability in the
                                               17   Action, it has agreed to enter into this Settlement to avoid the cost and
                                               18   business disruption associated with further defending the Action.
                                               19   (Gomez Decl. ¶ 9.)
                                               20   II.   DESCRIPTION OF THE SETTLEMENT
                                               21         A.    The Class
                                               22         The Class, as certified by this Court (Dkt. 101.), is defined as:
                                               23   “All current and former drivers of Defendant XPO Port Services who
                                               24   work or worked out of XPO’s Port Services yard during the relevant time
                                               25   period, from March 28, 2013 to the present, and (1) signed an
                                               26   independent contractor agreement (“ICOC”) with XPO Port Services in
                                               27   California at any time from March 28, 2013 through the date of notice to
                                               28   the class; (2) actually drove for XPO; and (3) were classified by XPO as
                                                                                            4
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                                                1   an independent contractor instead of an employee.” (The class excludes
                                                2   individuals who performed services as “Second Seat Drivers” and any
                                                3   limited liability corporations or other corporate entities that signed the
                                                4   “ICOC”.) (Dkt. 101.)3
                                                5          B.    Consideration
                                                6          As consideration for this Settlement, Defendant has agreed to pay
                                                7   a Maximum Gross Settlement Amount of Nine Million, Five Hundred
                                               8    Thousand Dollars and Zero Cents ($9,500,000.00). This payment will
                                                9   settle all issues pending in the litigation, including Class Counsel’s
                                               10   Attorneys’ Fees, Expenses (including Administration Costs), the PAGA
                                               11   Penalty Payment, all Individual Settlement Allocations to Class Members
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                                               12   and PAGA Members (including any employer and employee payroll taxes),
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                                                    and the Enhancement Payments to the Class Representatives.            The
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                                               13
                                               14   Settlement is not a claims-made settlement. (S.A. § III(A).)
                                               15          C.    Mechanics of Settlement
                                               16          Class Counsel will make and submit to the Settlement
                                               17   Administrator and XPO their final Payment Calculations no later than
                                               18   thirty (30) days after entry by the Court of the Final Approval Order. The
                                               19   Payment Calculations shall take into account available information
                                               20   regarding the length of time each claimant provided services under
                                               21   contract to XPO during the Release Period, and the amount of each
                                               22   claimant’s pro rata share of the attorneys’ fees and costs to be paid to

                                               23   Class Counsel.     Class counsel shall use a workweeks formula for

                                               24
                                                    workweeks in which Claiming Class Members drove a vehicle to provide
                                                    services pursuant to the ICOC. Class Counsel assume and accept all
                                               25
                                                    responsibility and liability associated with their Payment Calculations.
                                               26
                                               27
                                                    3   The settlement excludes claims for drivers who previously had settled
                                               28
                                                    their claims in prior cases.
                                                                                            5
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                                                1   (S.A. § III(B)(1).)
                                                2         D.    PAGA Allocation
                                                3         The Parties have agreed to allocate $20,000.00 for Plaintiffs’
                                                4   PAGA claims of which 75 percent ($15,000) shall be paid to the State of
                                                5   California. (S.A. § III(A)(4).)
                                                6         E.    Service Enhancement Award, Attorneys’ Fees/Costs
                                                7         Subject to Court approval, the Stipulation provides for the
                                               8    Plaintiffs to apply for a Service Enhancement Award of $10,000 to each
                                                9   Plaintiff. (S.A. § III(A)(1).) Subject to Court approval, Class Counsel shall
                                               10   be awarded a sum not to exceed thirty-three percent (33.33%) of the
                                               11   Maximum Gross Settlement Amount (or $3,166,350.00) for reasonable
                                                    attorneys’ fees. Class Counsel will also be allowed to apply separately for
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                                               12
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                                                    reimbursement of their actual litigation costs, or $135,000.00. (S.A. §
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                                               13
                                               14   III(A)(2)-(3).) XPO will not oppose a motion for approval of attorneys’
                                               15   fees, litigation expenses, and service enhancement awards consistent
                                               16   with the Settlement Agreement.
                                               17         F.    Allocation of Settlement Payments Per Class Member
                                               18         The Settlement Payment is allocated by the Parties to compensate
                                               19   for the reimbursement of expenses (whether deducted from contractual
                                               20   payments to Plaintiffs or their affiliated entities or paid separately by
                                               21   Plaintiffs), wages, and interest. No representation has been made to the
                                               22   Plaintiffs, Class Members, or their attorneys by XPO regarding the
                                               23   taxability of any portion of the payments under this Agreement.
                                               24   Plaintiffs, Class Members, and Class Counsel are solely responsible for
                                               25   their own tax filing and payment obligations arising from this
                                               26   Agreement, except that the Settlement Administrator will provide
                                               27   Plaintiffs, Class Members, and Class Counsel with copies of IRS Forms
                                               28   1099 for any payments the Class Settlement Fund makes to them under
                                                                                             6
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                                                1   this Agreement. (S.A. § VII(G.))
                                                2         G.      Release of Claims
                                                3         If the Court issues a Final Approval Order, Plaintiffs and Class
                                                4   Members will fully, completely, and finally release XPO and their
                                                5   employees and officers of any and all liability. Class Members who have
                                                6   not excluded themselves will release all claims that were plead or could
                                                7   have been plead based on the alleged facts. (S.A. § I(D).)
                                                8         However, the Named Plaintiffs are agreeing to a broader release, a
                                                9   general release of all claims of all types. (S.A. § I(M).)
                                               10         H.      Proposed Notice to the Class
                                               11         The Parties have agreed to and request that the Court appoint
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                                               12   Phoenix       Class   Action   Administration       Solutions   as   Settlement
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                                                    Administrator for this Settlement. (S.A. § I(T).) XPO will provide data to
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                                               13
                                               14   Phoenix which lists each Class Member’s and PAGA Member’s name,
                                               15   last known address, dates of engagement under an ICOC during the
                                               16   Settlement Class Period, Social Security Number, and data to determine
                                               17   the number of calendar weeks worked by the Class Member. This data
                                               18   will be based on XPO’s settlement statements or other available business
                                               19   records in a format acceptable to the Settlement Administrator. (S.A. at
                                               20   Exhibit 1.)
                                               21         The Settlement Administrator will prepare, print, and mail the
                                               22   Notice to the Class Members. The Notice will include, non-exclusively,
                                               23   information regarding the nature of the Action; a summary of the
                                               24   substance of the Settlement; the Class and PAGA Member definitions;
                                               25   the date for the final approval hearing; the formula used for the
                                               26   Individual Settlement Payments and Individual PAGA Payments; for the
                                               27   Class, disputing calendar weeks, and objecting to the Settlement. The
                                               28   Notice will include the time period during which the Class Member
                                                                                              7
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                                                1   worked during the Settlement Class Period and/or a statement of the
                                                2   number of calendar weeks the Class Member worked as stated in XPO’s
                                                3   records, as well as a blank W-9 form that must be completed to receive a
                                                4   settlement payment. (Settlement Agreement at Exhibit 3.) 4 The costs of
                                                5   administration to be paid from the gross settlement fund to Phoenix
                                                6   Class Action Administration Solutions are currently estimated to be
                                                7   $9,500.00. (Gomez Decl. at ¶ 21.)
                                                8          I.    Final Settlement Approval
                                                9          Not later than fourteen (14) calendar days before the Fairness
                                               10   Hearing, the Named Plaintiffs will submit a Motion for Final Approval of
                                               11   the Settlement Agreement. The date of the Fairness Hearing will be set
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                                               12   by the Court. (S.A. VI(B).)
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                                                           J.    CAFA Notice
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                                               13
                                               14          Defendant has represented that, within 10 days of the filing of this
                                               15   Motion for Preliminary Approval of Class Action Settlement, Defendant
                                               16   will comply with the notice requirements of the Class Action Fairness
                                               17   Act of 2005, 28 U.S.C. § 1715 ("CAFA"). (S.A. at Exhibits 7-8.)
                                               18          K. Cy Pres Beneficiary
                                               19          Upon occurrence of the Effective Date of the Settlement, the
                                               20   Settlement Administrator shall distribute settlement payments in
                                               21   accordance with Section III of the Agreement. To the extent checks from
                                               22   the second distribution are not cashed within ninety (90) days following
                                               23   the second distribution, these funds shall be deposited with Casa
                                               24   Cornelia Law Center as cy pres beneficiary.
                                               25
                                               26
                                                    4   Complete details on settlement administration, including specific
                                               27
                                                    objection procedures, are detailed more fully in the Settlement
                                               28
                                                    Agreement.
                                                                                            8
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                                                1   III.   THE SETTLEMENT MEETS THE CRITERIA NECESSARY
                                                2          FOR THIS COURT TO GRANT PRELIMINARY APPROVAL
                                                3          Preliminary approval is the first of three steps that comprise the
                                                4   approval procedure for the settlement of class actions. See e.g. Louie v.
                                                5   Kaiser Found. Health Plan, Inc., 2008 U.S. Dist. LEXIS 78314 (S.D. Cal.
                                                6   2008); Fed. R. Civ. P. 23(e)(1)(A); 2 H. Newberg & A. Conte, Newberg on
                                                7   Class Actions (3d ed. 1992) at §11.41, p.11-87. The second step is the
                                                8   dissemination of notice of the settlement to all class members. The third
                                                9   step is a final settlement approval hearing, at which evidence and
                                               10   argument concerning the fairness, adequacy, and reasonableness of the
                                               11   settlement may be presented and class members may be heard regarding
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                                               12   the settlement. See Manual for Complex Litigation, Second §30.44
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                                                    (1993).
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                                               13
                                               14          A.   The Court’s Role In Preliminary Approval Of A Class
                                               15               Action Settlement
                                               16          The question presented on a motion for preliminary approval of a
                                               17   proposed class action settlement is whether the proposed settlement is
                                               18   “within the range of possible approval.” Manual for Complex Litigation,
                                               19   Second §30.44 at 229; Gautreaux v. Pierce, 690 F.2d 616, 621 n.3 (7th
                                               20   Cir. 1982); Louie, supra, at *7. The ultimate fairness determination
                                               21   occurs after class members receive notice of the settlement and have an
                                               22   opportunity to voice their views or to exclude themselves. See, e.g., 3B J.
                                               23   Moore, Moore’s Federal Practice §§23.80 - 23.85 (2003).
                                               24          There is an initial presumption of fairness when a proposed
                                               25   settlement was negotiated at arm’s length by Class Counsel. Newberg, 3d
                                               26   Ed., §11.41, p.11-88.   Courts generally recognize that the opinion of
                                               27   experienced counsel supporting the settlement is entitled to considerable
                                               28   weight. Kirkorian v. Borelli, 695 F. Supp. 446, 451 (N.D. Cal. 1988).
                                                                                           9
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                                                1         B.    All Factors Support Preliminary Approval
                                                2         Courts consider several factors, none of which are independently
                                                3   determinative, in evaluating a settlement for purposes of preliminary
                                                4   approval. If the proposed settlement appears to be the product of serious,
                                                5   informed, non-collusive negotiations, has no obvious deficiencies, does
                                                6   not improperly grant preferential treatment to class representatives or
                                                7   segments of the class, and falls within the range of possible approval, the
                                                8   court should direct that notice be given to the class members of a formal
                                                9   fairness hearing, where evidence may be presented in support of and in
                                               10   opposition to the settlement. See Manual of Complex Litigation, Second §
                                               11   30.44, at 229. Here, the Settlement meets all of these criteria as detailed
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                                               12   below.
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                                                                1.   Settlement is the Product of Informed, Non-collusive
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                                               13
                                               14               Negotiations
                                               15         This Settlement is the result of serious, informed, non-collusive,
                                               16   and hard-fought negotiations before Judge Gandhi—an experienced and
                                               17   well-respected neutral. The Parties engaged in extensive formal written
                                               18   discovery, depositions, and pre-trial motion practice prior to reaching
                                               19   the Settlement. The Parties exchanged and reviewed tens of thousands
                                               20   of pages of documents. Class Counsel interviewed many class members.
                                               21   Plaintiffs filed a detailed Motion for Class Certification, which was
                                               22   granted. To supplement formal discovery, the Parties met and conferred
                                               23   and informally exchanged additional information regarding the class
                                               24   before mediation. After two full days of negotiations with Judge Gandhi
                                               25   between 2019 and 2021, the Parties were able to reach a resolution in the
                                               26   few weeks before trial. (Gomez Decl. ¶ 10.)
                                               27         Here, the Parties were represented by experienced and capable
                                               28   counsel who zealously advocated their respective positions over the
                                                                                           10
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                                                1   course of several years. (Gomez Decl. ¶ 11.) Accordingly, “[t]here is
                                                2   likewise every reason to conclude that settlement negotiations were
                                                3   vigorously conducted at arms’ length and without any suggestion of
                                                4   undue influence.” In re Wash. Public Power Supply System Sec. Litig.,
                                                5   720 F. Supp. 1379, 1392 (D. Ariz. 1989).
                                                6                2.   The Settlement Has No “Obvious Deficiencies” and Falls
                                                7                Well Within the Range for Approval
                                                8          The proposed Settlement herein has no “obvious deficiencies” and
                                                9   is well within the range of possible approval. 5 All Class Members will
                                               10   receive an opportunity to participate in the Settlement and receive
                                               11   payment according to the same formula. (S.A. § III(B)(1).)
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                                               12          In Glass v. UBS Fin. Servs., 2007 U.S. Dist. LEXIS 8476 (N.D. Cal.
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                                                    January 27, 2007) the federal district court ruled that the settlement,
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                                               13
                                               14   which represented approximately 25 to 35% of the loss to the class, was
                                               15   fair, reasonable, and adequate. Id. at 28. Similarly, this settlement is
                                               16   fair, adequate, and reasonable and, thus, is entitled to preliminary
                                               17   approval. Where both sides face significant uncertainty, the attendant
                                               18   risks favor settlement. Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026
                                               19   (9th Cir. 1998). Here, a number of defenses asserted by Defendant
                                               20   present serious threats to the ultimate success of the classwide claims.
                                               21   (Gomez Decl. ¶ 12.)
                                               22          After a thorough investigation and arm’s length negotiations
                                               23   between experienced and informed counsel, the parties recognized the
                                               24
                                                    5   The strength of Plaintiffs’ claims under Dynamex, Borello, and other
                                               25
                                                    relevant law is described more fully in their Motion for Summary
                                               26
                                                    Judgment. (Dkt 143.) XPO filed an Opposition (Dkt. Dkt. 171), as well as
                                               27
                                                    its own Motion for Summary Judgment (Dkt. 157), highlighting the risks
                                               28
                                                    of continued litigation.
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                                                1   potential risks and agreed on the settlement of Nine Million Five
                                                2   Hundred Thousand U.S. Dollars ($9,500,000) (the “Maximum Gross
                                                3   Settlement Amount”). Below is a chart of maximum damages, as set
                                                4   forth by Plaintiffs’ damages expert, with footnotes outlining Defendant’s
                                                5   arguments, as set forth by XPO’s damages expert, which provide
                                                6   significant risk to Plaintiffs’ claims at trial. Based on analysis of these
                                                7   factors, the settlement is fair, reasonable, adequate, and has no obvious
                                                8   deficiencies.
                                                9                               Category                            Amount
                                                              Total Class Members                                             223
                                               10             Total Weeks                                                  17,500
                                                              Total Days                                                   83,425
                                               11
                                                              Total hours worked (8hrs. per day)                          667,400
                                                              (03/28/14 to 06/30/21)
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                                               12
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                                                              Hourly rate                                                   $57.56
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                                                              Unpaid Wages
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                                               13
                                                              Unlawful Deductions (03/28/14 to                     $13,019,537.49 6
                                               14             06/30/21)
                                                              Waiting time (2 hrs per day) (03/28/14 to             $9,604,628.537
                                               15             06/30/21)
                                                              Failure to provide sick leave (03/28/14 to               $3,833,890
                                               16             06/30/21)
                                                               Total Unpaid Wages                                  $23,137,533.83
                                               17             Penalties
                                                              Willful Misclassification [LC 226.8- up to           $5,700,000.00 8
                                               18             $25k per person] (03/28/16 to 06/30/21)
                                                              Wage Statements [LC 226.3- $250 per                   $3,406,500.00
                                               19             employee per week] (03/28/16 to 06/30/21)
                                                              Missed Meal [LC 558 - $50 for first violation         $1,352,650.00 9
                                               20
                                               21
                                                    6   XPO filed a motion in limine in which their expert contended a fuel
                                               22
                                                    surcharge offset/credit applies of $5,164,999.00 up to June 30, 2021.
                                               23
                                                    7   XPO contends the Waiting Time claim suffers due to flaws of the
                                               24
                                                    additional claims outlined herein since it depends on winning one (or
                                               25
                                                    more) of those claims, which XPO disputes.
                                               26
                                                    8   XPO disputed that the willful misclassication claim was properly plead.
                                               27
                                                    9   XPO claims that its policies and practices provided meal breaks and
                                               28
                                                    authorized and permitted rest breaks as required by California law. XPO
                                                                                                12
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                                                              and $100 each week subsequent violation]
                                                1             (03/28/16 to 06/30/21)
                                                              Missed Meal [LC 2699(f) - $100 for first               $2,705,300.00
                                                2             violation and $200 each week subsequent
                                                              violation] (03/28/16 to 06/30/21)
                                                3             Missed Rest [LC 558 - $50 for first violation          $1,352,650.00
                                                              and $100 each week subsequent violation]
                                                4             (03/28/16 to 06/30/21)
                                                5             Missed Rest [LC 2699(f) - $100 for first               $2,705,300.00
                                                              violation and $200 each week subsequent
                                                6             violation] (03/28/16 to 06/30/21)
                                                              Improper Wage Statements [LC 226(e) - $50               $464,200.00
                                                7             for first, $100 for subsequent up to max of
                                                              $4000] 10
                                                8             Waiting time penalty [LC 203 – based on 30              $1,547,142.74
                                                              days of work at 8 hrs per day for each driver
                                                9             who stopped working]
                                                              Non-compliant meal period [LC 226.7(c) at 1            $4,802,314.26
                                               10             hr per day]
                                                              Non-compliant meal period [LC 226.7(c) at 1            $4,802,314.26
                                               11             hr per day]
                                                              TOTAL PENALTIES                                      $28,838,371.27
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                                               12
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                                                    argues that the fact that employees routinely took breaks evidences that
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                                               13
                                               14   breaks were provided, authorized, and permitted. XPO further alleges
                                               15   that Plaintiffs’ meal and rest break claims are preempted by federal law
                                               16   and filed a motion in limine making this argument. On January 15, 2021,
                                               17   the Ninth Circuit Court of Appeals upheld the Federal Motor Carrier
                                               18   Safety Administration’s (“FMCSA”) determination that federal law

                                               19   preempts California’s meal and rest break rules. Int'l Bhd. of Teamsters,

                                               20
                                                    Loc. 2785 v. Fed. Motor Carrier Safety Admin., 986 F.3d 841, 858 (9th
                                                    Cir. 2021.) While Plaintiffs argue that Class Members are “short-haul”
                                               21
                                                    drivers and that preemption therefore does not apply, there is risk that
                                               22
                                                    XPO’s arguments will undercut Plaintiffs’ ability to prevail at trial. If
                                               23
                                                    Plaintiffs prevailed on all claims at trial, total meal and rest break
                                               24
                                                    damages would be approximately $8,115,900.00 based on drivers missing
                                               25
                                                    an average of one meal or rest break per week.
                                               26
                                                    10   XPO contends it did not need to provide wage statements that complied
                                               27
                                                    with Section 226 because drivers were not employees and only employees
                                               28
                                                    are entitled to Section 226-compliant wage statements.
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                                                            Total Damages                                     $51,976,000
                                                1
                                                2         (Gomez Decl. at ¶ 13.)
                                                3         Plaintiffs also bring claims for unfair business practices and PAGA
                                                4   violations. These are predicated on and derive from the underlying
                                                5   violations described above. Thus, the same risks inherent in the
                                                6   triggering claims are inherent in any derivative claims based thereon. In
                                                7   addition, XPO filed motions in limine to preclude references to
                                                8   Plaintiffs’ UCL and PAGA claims based on their derivative nature. XPO
                                                9   has further argued in pretrial briefing that many of Plaintiffs’ PAGA
                                               10   penalties are not valid, and in a separate motion in limine urged the
                                               11   Court to exclude UCL and PAGA damages altogether on procedural
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                                               12   grounds. Moreover, with respect to civil penalties awarded for PAGA
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                                                    claims, the Court has virtually unlimited discretion to reduce the amount
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                                               13
                                               14   of penalties. This adds significant uncertainty to PAGA penalties.
                                               15   (Gomez Decl. ¶ 14.)
                                               16         All told, the total Settlement results in a benefit to the Class of
                                               17   approximately $542 per week per Class Member, or more than
                                               18   $27,000.00 per year—a stellar result. Given the amount of the
                                               19   settlement as compared to the potential value of claims and the risks
                                               20   involved, the settlement is fair and reasonable. (Gomez Decl. ¶ 15.)
                                               21               3.   The Settlement Does Not Improperly Grant Preferential
                                               22               Treatment to Class Representatives or Segments Of The Class
                                               23         The relief provided in the Settlement will benefit all members of
                                               24   the Class equally. The Settlement does not improperly grant preferential
                                               25   treatment to Plaintiffs, nor does it improperly benefit any portion of the
                                               26   Class. Payments to the Settlement Class are all determined according to
                                               27   the same methodology—each Settlement Class Member will receive an
                                               28   Individual Settlement Allocation that is based upon the particular
                                                                                           14
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                                                1   individual’s length of time working for XPO during the relevant time
                                                2   period. (S.A. § III(B)(1).)
                                                3         Plaintiffs will apply to the Court for a modest enhancement award
                                                4   in consideration for their service and for the risks undertaken on behalf
                                                5   of the class. (S.A. § III(A)(1).) Plaintiffs contend that they performed
                                                6   their duties admirably by working with Class Counsel, including
                                                7   providing information on Defendant’s alleged employment practices,
                                                8   reviewing documents with Class Counsel, participating in mediation,
                                                9   sitting for deposition, preparing for and filing a motion for class
                                               10   certification, preparing for trial, and referring Class Counsel to other
                                               11   material witnesses. The requested Enhancement Payments of $10,000
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                                               12   per Plaintiff is well within the accepted range of awards in a settlement
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                                                    for purposes of preliminary approval. See e.g. Glass v. UBS Fin. Servs.,
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                                               13
                                               14   2007 WL 221862, *16-17 (N.D.Cal. Jan. 27 2007) (awarding $25,000
                                               15   service award in overtime class action and a pool of $100,000.00 in
                                               16   enhancements); Louie v. Kaiser Foundation Health Plan, Inc., 2008 WL
                                               17   4473183, *7 (S.D.Cal. Oct. 06, 2008) (awarding $25,000 service award
                                               18   to each of six plaintiffs in overtime class action). As explained in Glass,
                                               19   service awards are routinely awarded to class representatives to
                                               20   compensate the employees for the time and effort expended on the case,
                                               21   for the risk of litigation, the fear of suing an employer and facing
                                               22   retaliation, and to serve as an incentive to vindicate the rights of all
                                               23   employees. See id. *16-17.
                                               24               3.    The Stage Of The Proceedings Are Sufficiently Advanced
                                               25               To Permit Preliminary Approval Of The Settlement
                                               26         The stage of the proceedings at which this Settlement was reached
                                               27   also weighs in favor of preliminary approval and, ultimately, final
                                               28   approval of the Settlement. The Settlement was not reached until 1.
                                                                                            15
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                                                1   significant discovery had been completed, 2. a motion for class
                                                2   certification was granted, and 3. the Parties were well into preparation
                                                3   for the trial (including each party filing Memorandums of Fact and Law
                                                4   and two dozen motions in limine, collectively, and exchanging and filing
                                                5   Exhibit and Witness Lists). Trial was scheduled to begin in less than one
                                                6   month. Given such a mature stage of the case, the proceedings had
                                                7   advanced sufficiently for the parties to assess the strengths and
                                                8   weaknesses of their own and each other’s positions. (Gomez Decl. ¶ 16.)
                                                9         Accordingly, Class Counsel has conducted a thorough investigation
                                               10   into the facts of the Lawsuit.        Namely, Class Counsel interviewed
                                               11   numerous drivers on multiple occasions, propounded multiple rounds of
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                                               12   interrogatories, requests for admission, and requests for production of
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                                                    documents, conducted nearly a dozen depositions, and engaged in a
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                                               13
                                               14   thorough review and analysis of the relevant documents and data
                                               15   produced by Defendant with the assistance of Plaintiffs. The Parties also
                                               16   engaged in two separate ADR sessions during which further information
                                               17   was exchanged. (Gomez Decl. ¶ 17.)
                                               18         Based on the foregoing data and their own independent
                                               19   investigation and evaluation, Class Counsel was in an excellent position
                                               20   to evaluate the fairness of this settlement because an extensive
                                               21   investigation was conducted through both formal and informal
                                               22   exchanges of documents and information. Class Counsel believes that
                                               23   the proposed Settlement is fair, reasonable, adequate, and in the best
                                               24   interest of the Class, in light of all known facts and circumstances,
                                               25   including the risk of delay, defenses asserted by Defendant, potential
                                               26   appellate issues, and myriad other risks of continued litigation.     Id.
                                               27   Defendants and Defendants’ counsel also agree that the Settlement is
                                               28   fair and in the best interest of the Parties. (Gomez Decl. ¶ 45.)
                                                                                            16
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                                                1   IV.   THE CLASS NOTICE IS APPROPRIATE
                                                2         The Court has broad discretion and authority to approve a
                                                3   practical notice program. In this instance, the parties have agreed upon
                                                4   suitable procedures by which the Class Members will be provided with
                                                5   written notice of the Settlement—similar to similar procedures approved
                                                6   and utilized in hundreds of class action settlements. (Gomez Decl. ¶ 18.)
                                                7         This notice program, as detailed above and in the Settlement
                                                8   Agreement, was designed to meaningfully reach the largest possible
                                                9   number of potential Class Members and advises them of all pertinent
                                               10   information concerning the Settlement. The mailing and distribution of
                                               11   the Notice satisfies the requirements of due process, is the best notice
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                                               12   practicable under the circumstances, and constitutes due and sufficient
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                                                    notice to all persons entitled thereto. The proposed Notice is accurate
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                                               13
                                               14   and informative.    The Notice satisfies the content requirements for
                                               15   notice following the exemplar class notice in the Manual for Complex
                                               16   Litigation, Second § 41.43. The Notice also fulfills the requirement that
                                               17   Class notices be neutral. Newberg, at § 8.39. (Gomez Decl. ¶ 19.)
                                               18   V.    CONCLUSION
                                               19         The Plaintiffs respectfully request that the Court preliminarily
                                               20   approve the proposed settlement, enter the proposed Preliminary
                                               21   Approval Order submitted herewith, and set a date for the final approval
                                               22   hearing.
                                               23   Dated: August 19, 2021                GOMEZ LAW GROUP
                                               24
                                                                                          /s/ Alvin M. Gomez____
                                               25
                                                                                          Alvin M. Gomez, Esq.
                                               26                                         Stephen Noel Ilg, Esq.
                                                                                          Frank J. Zeccola, Esq.
                                               27
                                                                                          Attorneys for Plaintiffs
                                               28                                         and the Plaintiff Class
                                                                                            17
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